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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA,

         Plaintiff,
                                                            Case No. 1:19-cr-10080-NMG
 v.

 DAVID SIDOO, et al.

         Defendant.


                          DEFENDANT HOMAYOUN ZADEH’S
                      WAIVER OF APPEARANCE FOR ARRAIGNMENT

        Pursuant to Federal Rule of Criminal Procedure 10(b), Defendant Homayoun Zadeh

respectfully hereby waives his right to appear in court for arraignment on the Second

Superseding Indictment in the above-captioned matter. Defendant and his counsel affirm that

Dr. Zadeh has received a copy of the Second Superseding Indictment and that Dr. Zadeh pleads

not guilty.

        The Second Superseding Indictment was returned less than a week after Dr. Zadeh, who

resides in California, made an initial appearance in this District on the underlying criminal

complaint in this matter. See United States v. Abbott, No. 1:19-mj-06087, Docket No. 289.

Therefore, Dr. Zadeh respectfully requests that the Court accept this waiver and enter a plea of

not guilty in his absence.




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